  Case 23-11011-mdc           Doc 35-2 Filed 09/29/23 Entered 09/29/23 11:51:59                         Desc
                                  Proposed Order Page 1 of 1
                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Karon A Simmons
                                Debtor(s)                                         CHAPTER 13

PNC BANK, NATIONAL ASSOCIATION
                      Movant
           vs.
                                                                               NO. 23-11011 MDC
Karon A Simmons
                                Debtor(s)

Kenneth E. West
                                Trustee                                      11 U.S.C. Sections 362

                                                  ORDER

         AND NOW, this                 day of                        , 2023 it is hereby ORDERED that if
 _____________________ (the “Debtor(s)”) and ____________________ (“Mortgagee”) elect to enter into
 the proposed loan modification under the terms proposed by the Mortgagee, the Debtor(s) and Mortgagee
 may do so without there being any vilolation of the bankruptcy stay, or the provisions of USC § 362.




                                                           Magdeline D. Colemant
                                                           United States Bankruptcy Judge

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